           Case 1:15-cr-00286-ADA-BAM Document 290 Filed 12/14/17 Page 1 of 2



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 5
    Attorneys for Plaintiff
 6 United States of America

 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           Case no. 1:15-cr-00286-DAD-BAM-2
12                              Plaintiff,               STIPULATION AND ORDER REGARDING
                                                         CONTINUANCE
13              v.
     ZAID ELODAT,
14
                                Defendant.
15

16
                                                STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
19
20          1.       By previous order, this matter was set for sentencing on Monday, February 5, 2018,

21 at 10:00 a.m.

22          2.       By this stipulation, the parties now move to continue the matter to Monday, June 25
23
     5, 2018, at 10:00 a.m.
24
            3.       The parties further stipulate to the following schedule:
25
            Informal Objections Due:                                            May 29, 2018
26

27          Final PSR Filed with the Court:                                     June 4, 2018

28          Formal Objections to PSR/Sentencing Memo due:                       June 11, 2018
                                                 1
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          Case 1:15-cr-00286-ADA-BAM Document 290 Filed 12/14/17 Page 2 of 2


           Responses to Formal Objections/Reply to Sentencing Memo:      June 18, 2018
 1
           IT IS SO STIPULATED.
 2

 3
     DATED:       December 13, 2017   Respectfully submitted,
 4
                                      PHILLIP A. TALBERT
 5                                    United States Attorney

 6
                                      /s/ Karen A. Escobar
 7                                    KAREN A. ESCOBAR
                                      Assistant United States Attorney
 8
 9 DATED:         December 13, 2017

10                                    /s/ Edward Robinson
                                      EDWARD ROBINSON
11                                    Counsel for Defendant
                                      Zaid Elodat
12

13
                                             ORDER
14
     IT IS SO ORDERED.
15
        Dated:   December 13, 2017
16                                               UNITED STATES DISTRICT JUDGE
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